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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  IN RE BED BATH & BEYOND                         Master File No. 2:20-cv-08673-MCA-MAH
  STOCKHOLDER DERIVATIVE
  LITIGATION                                         STIPULATION AND ORDER TO DISMISS
                                                          ACTION WITH PREJUDICE




        Counsel for Plaintiffs Olufemi Salu, Kevin Grooms, and Greg Mantia (“Plaintiffs”) and for

 Nominal Defendant Bed Bath & Beyond, Inc. (“BBBY”) and Defendants Stephanie Bell-Rose,

 Robyn M. D'Elia, Harriet Edelman, John E. Fleming, Patrick R. Gaston, Sue E. Gove, Jeffrey A.

 Kirwan, Johnathan B. Osborne, Harsha Ramalingam, Virginia P. Ruesterholz, Joshua E.

 Schechter, Mark J. Tritton, Andrea Weiss, Mary A. Winston, and Ann Yerger (with BBBY,

 “Defendants”) respectfully submit this stipulation and proposed order voluntarily dismissing the

 above-captioned action with prejudice, and states as follows:

        WHEREAS, the above-captioned, consolidated action In re Bed Bath & Beyond

 Stockholder Derivative Litigation, 2:20-cv-08673-MCA-MAH (D.N.J.) (the “Federal Action”) is




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 related to the action In re Bed Bath & Beyond Stockholder Derivative Litigation, Index No.

 516051/2020 (NY. Sup. Ct., Kings County) (“New York Action”);

        WHEREAS, the Parties in this action and the New York Action reached a global resolution

 with the plaintiffs in the New York Action, and the plaintiffs in the New York Action moved for

 preliminary approval on June 14, 2022, including filing the Stipulation of Settlement

 (“Stipulation”), which incorporated the terms of the global settlement;

        WHEREAS, on June 22, 2022, Justice Leon Ruchelsman preliminarily approved the

 settlement in the New York Action;

        WHEREAS, on August 2, 2022, the plaintiffs in the New York Action moved for final

 approval of the Settlement;

        WHEREAS, on September 21, 2022, Justice Ruchelsman finally approved the settlement

 in the New York Action and entered the Final Order and Judgment;

        WHEREAS, pursuant to the Stipulation, after the Effective Date, as defined in the

 Stipulation, the Parties to the Federal Action must file a stipulation to dismiss the Federal Action

 with prejudice (Stipulation ¶5.1);

        WHEREAS, the Effective Date has passed;

        WHEREAS, pursuant to the Stipulation, the Parties request that the Court dismiss the

 Federal Action with prejudice, as the claims that Plaintiffs brought on behalf of BBBY have been

 settled in the New York Action;

        WHEREAS, notice of the dismissal of the Federal Action is unnecessary as BBBY

 shareholders were already provided notice of the settlement of the New York Action, which

 included the Federal Action, BBBY shareholders were already given the opportunity to object to

 the settlement, and, pursuant to the terms of the Stipulation, Plaintiffs would dismiss this action



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 after the Effective Date; and

        WHEREAS, the Parties agree that each shall bear its own fees, costs, and expenses, except

 as otherwise set forth in the Stipulation incorporated in the Final Order and Judgment in the New

 York Action;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED among the Parties,

 through their respective counsel, as follows:

        1.      The Federal Action shall be dismissed in its entirety with prejudice.

        2.      For the reasons stated above, notice to BBBY shareholders of this voluntary

 dismissal with prejudice has been provided.

        3.      The Parties shall each bear its own fees, costs, and expenses, except as otherwise

 set forth in the Stipulation, incorporated in the Final Order and Judgment in the New York Action.

        IT IS SO STIPULATED.

Dated: November 14, 2022

  /s/ Laurence M. Rosen                              /s/ Edna D. Guerrasio
  Laurence M. Rosen                                  Edna D. Guerrasio
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       SO ORDERED this _____
                       15th day of ______________,
                                    November       2022.



                                         _______________________________________
                                          Hon. Madeline Cox Arleo
                                          United States District Judge




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